Case 2:04-cV-02769-.]DB-tmp Document 27 Filed 05/18/05 Page 1 of 2 Page|D 33

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

MICHAEL LOVE,
Plaintiff,
Civ. No. 04-2769-B[P

V`S.

SHELBY COUNTY SHERIFF'S
DEPARTMENT,

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Defendant.

 

ORDER DENYING AS MOOT PLAINTIFF'S MOTION TO CONTINUE STATUS
CONFERENCE

 

Presently before the court is plaintiff’s Motion to Continue
Status Conferenoe, filed May 13, 2005. On May 17, 2005, the court
received a phone call from plaintiff’s counsel that she would be
attending the status conference. Therefore, Plaintiff's Motion to

Continue Status Conference is DENIED as MOOT.

”u:i>D/id

TU M. PHANI
United States Magistrate Judge

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IT IS SO ORDERED.

Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

